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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           02/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Modern Everyday, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  300 Park Avenue, 12th Floor                                     325 E. Warm Springs Road, Suite 102
                                  New York, NY 10022                                              Las Vegas, NV 89119
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  New York                                                        Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  325 E. Warm Springs Road, Suite 102 Las Vegas, NV
                                                                                                  89119
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Modern Everyday, Inc.                                                                         Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4481

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                  proceed under Subchapter V of Chapter 11.
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     Appliance Smart, Inc.                                           Relationship            Affiliate
                                                             Southern District of New
                                                  District   York                     When           12/09/19                Case number, if known   19-13887


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Debtor   Modern Everyday, Inc.                                                                      Case number (if known)
         Name



11. Why is the case filed in     Check all that apply:
    this district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                          preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                          A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or           No
    have possession of any
    real property or personal                 Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                     Yes.
    property that needs
    immediate attention?                      Why does the property need immediate attention? (Check all that apply.)
                                                 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                What is the hazard?
                                                 It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                 Other
                                              Where is the property?
                                                                               Number, Street, City, State & ZIP Code
                                              Is the property insured?
                                                 No
                                                 Yes.    Insurance agency
                                                         Contact name
                                                         Phone



         Statistical and administrative information

13. Debtor's estimation of       .         Check one:
    available funds
                                              Funds will be available for distribution to unsecured creditors.

                                              After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of              1-49                                             1,000-5,000                                 25,001-50,000
    creditors                        50-99                                            5001-10,000                                 50,001-100,000
                                     100-199                                          10,001-25,000                               More than100,000
                                     200-999


15. Estimated Assets                 $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                     $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities            $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                     $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                     $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor    Modern Everyday, Inc.                                                                    Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       June 25, 2020
                                                   MM / DD / YYYY


                             X   /s/ Jon Isaac                                                            Jon Isaac
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Officer




18. Signature of attorney    X   /s/ Kenneth A. Reynolds                                                   Date June 25, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Kenneth A. Reynolds
                                 Printed name

                                 The Law Offices of Kenneth A. Reynolds, Esq., P.C.
                                 Firm name

                                 105 Maxess Road
                                 Suite 124
                                 Melville, NY 11747
                                 Number, Street, City, State & ZIP Code


                                 Contact phone      631-994-2220                 Email address      kreynolds@kareynoldslaw.com

                                 152123 NY
                                 Bar number and State




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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      Modern Everyday, Inc.                                                                      Case No.
                                                                                   Debtor(s)           Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the Officer of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       June 25, 2020                                              /s/ Jon Isaac
                                                                        Jon Isaac/Officer
                                                                        Signer/Title




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                          ABBEY PRESS
                          P.O. BOX 128
                          SAINT MEINRAD, IN 47577


                          ACCOUTREMENTS, LLC
                          HARBOUR POINTE BUS. PARK
                          10915 47TH AVENUE W.
                          MUKILTEO, WA 98275


                          AEROMAX, INC.
                          28W079 INDUSTRIAL AVENUE
                          BARRINGTON, IL 60010


                          AITOH CO., LLC
                          362 LITTLEFIELD AVENUE
                          SOUTH SAN FRANCISCO, CA 94080


                          ALEX TOYS, LLC
                          P.O. BOX 3908
                          BOSTON, MA 02241-3908


                          ALEXANDER DOLL COMPANY
                          805 ESTELLE DRIVE
                          SUITE 101
                          LANCASTER, PA 17601


                          ALL AROUND FIRE PROTECTION
                          9533 REX ROAD
                          PICO RIVERA, CA 90660


                          ALLIANCE SPORTS GROUP
                          P.O. BOX 203246
                          DALLAS, TX 75320


                          AMERICAN CRAFTS
                          P.O. BOX 512
                          OREM, UT 84059


                          AMERICAN EDUCATIONAL
                          PORDUCTS, LLC
                          P.O. BOX 2121
                          FORT COLLINS, CO 80522


                          AMERICAN EXPRESS
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                      AMSCAN (GRASSLAND ROADS)
                      P.O. BOX 71603
                      CHICAGO, IL 60694


                      APPLE PARK, LLC
                      1400 EAST ERIE AVENUE
                      PHILADELPHIA, PA 19124


                      ART 101
                      4570 WESTGROVE DRIVE
                      SUITE 145
                      ADDISON, TX 75001


                      ARTHUR COURT DESIGNS
                      P.O. BOX 459
                      BRISBANE, CA 94005


                      ARTLAND
                      1 SOUTH MIDDLESEX AVENUE
                      MONROE TOWNSHIP, NJ 08831


                      ATA-BOY, INC.
                      P.O. BOX 1029
                      LANSDOWNE, PA 19050


                      ATHALON SPORTGEAR, INC.
                      WELLS FARGO TRADE CAPITAL
                      P.O. BOX 360286
                      PITTSBURGH, PA 15250


                      AURORA WORLD, INC.
                      8820 MERCUR LANE
                      PICO RIVERA, CA 90660


                      AVANTI LINENS, LLC
                      234 MOONACHIE ROAD
                      MOONACHIE, NJ 07074


                      BABYSQUARE
                      P.O. BOX 7134
                      BELLEVUE, WA 98008
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                      BATTEN INDUSTRIES
                      NELLIE'S ALL NATURAL
                      #114 2455 DOLLARTON HWY
                      NORTH VANCOUVER, BC


                      BEE HOUSE CO. LTD.
                      325 SOUTH MAPLE AVE.
                      SUITE 5
                      SOUTH SAN FRANCISCO, CA 94080


                      BEGINAGAIN
                      201 LINDEN STREET
                      SUITE 204
                      FORT COLLINS, CO 80524


                      BENJAMIN INTERNATIONAL
                      125 NORTH BENSON ROAD
                      MIDDLEBURY, CT 06762


                      BERGERON (KEEKAROO)



                      BERGHOFF
                      11063 SR 54
                      ODESSA, FL 33556


                      BETTER HOUSEWARE
                      25-12 41ST AVENUE
                      LONG ISLAND CITY, NY 11101


                      BIA CORDON BLEU, INC.
                      P.O. BOX 395
                      GALT, CA 95632


                      BIOWORLD MERCHANDISING
                      P.O. BOX 674048
                      DALLAS, TX 75267


                      BK MFG. INC.
                      200 INTERNATIONAL WAY
                      WINSTED, CT 06098
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                      BLUE BOYS TOYS
                      220 S. ORANGE AVENUE
                      SUITE 106
                      LIVINGSTON, NJ 07039


                      BLUE Q
                      103 HAWTHORNE AVENUE
                      PITTSFIELD, MA 01201


                      BMBU
                      901 SE OAK STREET
                      SUITE 102
                      PORTLAND, OR 97214


                      BOARD OF EQUALIZATION



                      BOIRON USA
                      6 CAMPUS BLVD.
                      NEWTOWN SQUARE, PA 19073


                      BOX CREATIONS, LLC



                      BRADSHAW INTERNATIONAL, INC.
                      FILE 70028
                      LOS ANGELES, CA 90074


                      BRAINSTORM PRODUCTS, LLC
                      1011 S. ANDREASEN DRIVE
                      # 100
                      ESCONDIDO, CA 92029


                      BRANCH BANKING AND TRUST CO.
                      P.O. BOX 890011
                      CHARLOTTE, NC 28289-0011


                      BRAND 44 COLORADO



                      BRITANNE CORPORATION
                      AQUIS
                      14 COMMERCIAL BLVD, # 121
                      NOVATO, CA 94949
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                      BRMB, INC.
                      740 INDUSTRIAL BLVD., #34
                      ST-EUSTACHE, QC
                      J7R 5V3


                      BROWNLOW GIFTS
                      6309 ARIPORT FREEWAY DUNS
                      HALTOM CITY, TX 76117


                      BUDDEEZ
                      1106 CROSSWINDS COURT
                      WENTZVILLE, MO 63385


                      BUG BOSS PEST CONTROL



                      BURTON & BURTON



                      C.H. ROBINSON WORLDWIDE, INC.
                      P.O. BOX 9121
                      MINNEAPOLIS, MN 55480-9121


                      CAL CHAMBER OF COMMERCE



                      CALIFORNIA COSTUMES
                      CIT GROUP
                      P.O. BOX 1036
                      CHARLOTTE, NC 28201


                      CAPE COD POLISH CO.
                      P.O. BOX 2039
                      DENNIS, MA 02638


                      CAPITAL LABEL



                      CAPITOL SERVICES, INC.



                      CARNATION HOME FASHIONS
                      53 JEANNE DRIVE
                      NEWBURGH, NY 12550
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                      CASABELLA CLEAN
                      P.O. BOX 8000
                      DEPT. NO 818
                      BUFFALO, NY 14267


                      CATAMOUNT GLASSWARE, INC.
                      309 COUNTY STREEET
                      BENNINGTON, VT 05201


                      CHANTAL CORP.
                      P.O. BOX 95263
                      GRAPEVINE, TX 76099


                      CHARM COMPANY
                      P.O. BOX 5395
                      TROY, MI 48007


                      CHEF'N
                      TAYLOR PRECISION PRODUCTS
                      P.O. BOX 71933
                      CHICAGO, IL 60694


                      CHEF'S PLANET
                      P.O. BOX 69
                      PETERSBURG, NY 12138


                      CHENILLE KRAFTS
                      P.O. BOX 269
                      GURNEE, IL 60031


                      CHH QUALITY PRODUCTS
                      52 WEST LIVE OAK AVENUE
                      ARCADIA, CA 91007


                      CIE LUXE BRANDS
                      3444 TRIPP COURT, SUITE C
                      SAN DIEGO, CA 92121


                      CIRCLEGLASS
                      13 JENSEN DRIVE
                      SOMERSET, NJ 08873


                      CJ PRODUCTS, INC.
                      2045 CORTE DEL NOGAL
                      CARLSBAD, CA 92011
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                      COCOON INNOVATIONS
                      105 MADISON AVENUE
                      NEW YORK, NY 10016


                      COLLECTA IQON
                      P.O. BOX 220444
                      HOLLYWOOD, FL 33022


                      COLUMBIAN HOMD PRODUCTS
                      404 NORTH RAND ROAD
                      BARRINGTON, IL 60010


                      COMIC IMAGES
                      85 CHESTNUT RIDGE ROAD
                      SUITE 114
                      MONTVALE, NJ 07645


                      COMO TOMO
                      79 MADISON AVENUE
                      FL. 2
                      NEW YORK, NY 10016


                      COOPERS DIY, LLC
                      3366 NORTH DODGE BLVD.
                      TUCSON, AZ 85716


                      COPERNICUS TOYS
                      570 EXPLORERS ROAD
                      CHARLOTTESVILLE, VA 22911


                      CORE BAMBOO
                      247 WEST 38TH STREET
                      SUITE 501
                      NEW YORK, NY 10018


                      CREATIVE BATH PRODUCTS, INC.
                      250 CREATIVE DRIVE
                      CENTRAL ISLIP, NY 11722


                      CRW GROUP, LLC
                      244 5TH AVENUE
                      SUITE 2089
                      NEW YORK, NY 10001
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                      CRYSTAL OF AMERICA, INC.
                      P.O. BOX 27523
                      NEW YORK, NY 10087


                      CUPECOY OF AMERICA, INC.
                      P.O. BOX 27523
                      NEW YORK, NY 10087


                      DENNIS EAST INTERNATIONAL, LLC
                      225 WHITES PATH
                      SOUTH YARMOUTH, MA 02664


                      DESIGN IDEAS
                      P.O. BOX 2967
                      SPRINGFIELD, IL 62708


                      DESIGN IMPORTS
                      P.O. BOX 58410
                      SEATTLE, WA 98138


                      DHL EXPRESS



                      DIAMOND VISIONS, INC.
                      201 CIRCLE DRIVE N
                      SUITE 107
                      PISCATAWAY, NJ 08854


                      DICKIES
                      P.O. BOX 915156
                      DALLAS, TX 75391


                      DIGITAL CURRENCY SERVICES



                      DIVERSIFIED ALARM
                      P.O. BOX 777
                      MONTEREY PARK, CA 91754


                      DKE TOYS
                      8568 WALNUT DRIVE
                      LOS ANGELES, CA 90046
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                      DOUGLAS COMPANY, INC.
                      BOX D
                      69 KRIF ROAD
                      KEENE, NH 03431-0716


                      DPM FRAGRANCE
                      P.O. BOX 1446
                      STARKVILLE, MS 39760


                      DUNECRAFT, INC.
                      P.O. BOX 808
                      CHAGRIN FALLS, OH 44022


                      EAGLE/GRYPHON GAMES
                      FRED DISTRIBUTION
                      13641 N. CATCLAW COURT
                      FOUNTAIN HILLS, AZ 85268


                      EB SPORTS HOLDINGS, INC.
                      LOCKBOX 3512
                      P.O. BOX 8500
                      PHILADELPHIA, PA 19178-3512


                      ECHO VALLEY
                      232 HAEUSSLER COURT
                      ANN ARBOR, MI 48103


                      EDGEUCATIONAL PUBLISHING
                      THE CIT GROUP
                      P.O. BOX 1036
                      CHARLOTTE, NC 28201-1036


                      EDUSHAPE, LTD.
                      P.O. BOX 792
                      DEER PARK, NY 11729


                      ELEGANT BABY



                      ELEPHANT DREAMS, INC.
                      GOLD CREST DISTRIBUTING
                      P.O. BOX 157
                      MEXICO, MO 65265
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                      ENDLESS GAME
                      3587 HIGHWAY 9 N.
                      # 503
                      FREEHOLD, NJ 07728


                      ENESCO, LLC
                      BOX # 26257
                      26257 NETWORK PLACE
                      CHICAGO, IL 60673-1262


                      EPICUREAN
                      1325 N. 59TH AVENUE
                      DULUTH, MN 55807


                      EVEREST TOYS
                      65 BITTERN STREET
                      ANCASTER ON L9G 4V5
                      CANADA


                      EVRIHOLDER PRODUCTS, LLC
                      1500 SOUTH LEWIS STREET
                      ANAHEIM, CA 92805


                      FAGOR AMERICA, INC.
                      1099 WALL STREET WEST
                      SUITE 179
                      LYNDHURST, NJ 07071


                      FASCINATIONS
                      19224 DES MOINES WAY S
                      SUITE 100
                      SEATTLE, WA 98148


                      FASHION ANGELS ENTERPRISES
                      306 N. MILWAUKEE STREET
                      MILWAUKEE, WI 53202


                      FEDEX
                      P.O. BOX 7221
                      PASADENA, CA 91109-7321


                      FIDDLER'S ELBOW
                      101 FIDDLER'S ELBOW ROAD
                      GREENWICH, NY 12834
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                      FIESTA CONCESSION CORP.
                      2834 EAST 46TH STREET
                      LOS ANGELES, CA 90058


                      FISKARS BRANDS, INC.
                      P.O. BOX 802587
                      CHICAGO, IL 60680


                      FITLETIC SPORTS, LLC
                      1049 NW 1ST COURT
                      HALLANDALE, FL 33009


                      FLAIR HAIR
                      CONCEPT ONE
                      P.O. BOX 360286
                      PITTSBURGH, PA 15250-6286


                      FLEXSTARS BV
                      KORTEKADE 91A 3062 GP
                      ROTTERDAM, THE NETHERLANDS


                      FLOXITE COMPANY, INC.
                      31 INDUSTRIAL AVENUE, SUITE 2
                      MAHWAH, NJ 07430


                      FOLKMANIS, INC.
                      1219 PARK AVENUE
                      EMERYVILLE, CA 94608


                      FOX RUN CRAFTSMEN
                      P.O. BOX 1210
                      BLUE BELL, PA 19422


                      FRED & FRIENDS
                      LIFETIME BRANDS, INC.
                      DEPT. CH 17745
                      PALATINE, IL 60055-7745


                      FREMONT DIE CONSUMER PROD.
                      1709 A ENDEAVOR DRIVE
                      WILLIAMSBURG, VA 23185


                      FRIELING USA, INC.
                      P.O. BOX 890013
                      CHARLOTTE, NC 28289
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                      FRONTIER NATURAL PRODUCTS
                      3012 78TH STREET
                      NORWAY, IA 52318


                      FRUITS & PASSION, INC.
                      9180 LEDUC BLVD, STE 280
                      BROSSARD, QUEBEC J4Y 0N7


                      FULL CIRCLE HOME, LLC
                      146 WEST 29TH STREET
                      SUITE 9W
                      NEW YORK, NY 10001


                      FUNKO, LLC
                      P.O. BOX 677876
                      DALLAS, TX 75267-7876


                      FUNNYBONE TOYS, LLC
                      1600 FILLMORE STREET
                      SUITE 444
                      DENVER, CO 80206


                      FUSION LOGISTICS
                      NEED


                      GATOR CASES, INC.
                      18922 N. DALE MABRY HWY.
                      LUTZ, FL 33548


                      GERSON COMPANIES
                      P.O. BOX 1209
                      OLATHE, KS 66051-1209


                      GIANTMICROBES, INC.
                      DEPT. 1027
                      P.O. BOX 29338
                      PHOENIX, AZ 85038


                      GIBSON OVERSEAS, INC.
                      2410 YATES AVENUE
                      COMMERCE, CA 90040


                      GIFT REPUBLIC
                      4 LYON ROAD
                      LONDON, UK SW19 2RL
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                      GODDESSEY, LLC
                      2030 38TH STREET NORTH
                      SAINT PETERSBURG, FL 33713


                      GOLIATH GAMES, LLC
                      3701 W. PLANO PARKWAY
                      SUITE 100
                      PLANO, TX 75075


                      GOURMET HOME PRODUCTS, LLC
                      347 5TH AVENUE
                      SUITE 204
                      NEW YORK, NY 10016


                      GROUPE SEB USA
                      5 WOOD HOLLOW ROAD
                      2ND FLOOR
                      PARSIPPANY, NJ 07054


                      GUIDECRAFT
                      55508 STATE HIGHWAY 19
                      WINTHROP, MN 55396


                      GUYOT DESIGNS
                      P.O. BOX 343
                      DEER ISLE, ME 04627


                      HAMCO, INC.
                      CIT GROUP
                      P.O. BOX 1036
                      CHARLOTTE, NC 28201-1036


                      HAMILTON BEACH BRANDS, INC.
                      P.O. BOX 602762
                      CHARLOTTE, NC 28260


                      HANDI-CRAFT COMPANY
                      75 REMITTANCE DRIVE
                      SUITE 1612
                      CHICAGO, IL 60675-1612


                      HAPE INTERNATIONAL, INC.
                      123 CREE ROAD
                      SHERWOOD PARK AB T8A 3X9
                      CANADA
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                      HARNESS LEAD, LLC
                      100 S. DELAWARE AVENUE
                      BEACH HAVEN, NJ 08008


                      HAROLD IMPORT COMPANY, INC.
                      747 VASSAR AVENUE
                      LAKEWOOD, NJ 08701-4000


                      HARRISVILLE DESIGNS, INC.
                      P.O. BOX 806
                      HARRISVILLE, NH 03450


                      HARRY D. KOENIG
                      P.O. BOX 125
                      EAST ROCKAWAY, NY 11518


                      HERFF JONES, INC.
                      P.O. BOX 099292
                      CHICAGO, IL 60693-9292


                      HIGH COTTON, INC
                      P.O. BOX 1036
                      CHARLOTTE, NC 28201-1036


                      HIP PEAS, INC.
                      7818 PENCROSS LANE
                      DALLAS, TX 75248


                      HIS JUVENILES, INC.
                      35 WEST 35TH STREET
                      10TH FLOOR
                      NEW YORK, NY 10001


                      HOFFMASTER GROUP, INC.
                      B110149
                      P.O. BOX 790051
                      SAINT LOUIS, MO 63179-0051


                      HONEY CAN DO
                      5300 ST. CHARLES ROAD
                      BERKELEY, IL 60163


                      HOUSEHOLD ESSENTIALS
                      P.O. BOX 790379
                      SAINT LOUIS, MO 63179
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                      HUNTAR COMPANY, INC.
                      32408 CENTRAL AVENUE
                      UNION CITY, CA 94587


                      ICC SALES CORP.
                      P.O. BOX 505
                      FRANKTOWN, CO 80016


                      IGNITE USA
                      180 N. LASALLE STREET
                      SUITE 700
                      CHICAGO, IL 60675


                      IMAX CORPORATION
                      NEED


                      INCHARACTER COSTUMES
                      5950 NANCY RIDGE DRIVE
                      SUITE 500
                      SAN DIEGO, CA 92121


                      INNOVATION FIRST LABS, INC.
                      1519 INTERSTATE HIGHWAY 30 W
                      GREENVILLE, TX 75402-4810


                      INTERNATIONAL ARRIVALS, LLC
                      3923 OCEANIC DRIVE
                      SUITE 100
                      OCEANSIDE, CA 92056


                      INTERNATIONAL INNOVATION CO,
                      P.O. BOX 890482
                      CHARLOTTE, NC 28289


                      INTEX RECREATION CORP.
                      P.O. BOX 1440
                      LONG BEACH, CA 90801


                      ISCREAM
                      NEED


                      IT'S YOU BABE, LLC
                      P.O. BOX 535
                      8572 LUDINGTON DRIVE
                      LAKE, MI 48632
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                      ITA-MED CO.
                      310 LITTLEFIELD AVENUE
                      SOUTH SAN FRANCISCO, CA 94080


                      J&M FOODS
                      9100 FRAZIER PIKE
                      LITTLE ROCK, AR 72206


                      JACCARD
                      70 COMMERCE DRIVE
                      ROCHESTER, NY 14623


                      JENSEN DISTRIBUTION SERVICES
                      P.O. BOX 3708
                      SPOKANE, WA 99220


                      JK ADAMS CO
                      1430 ROUTE 30
                      DORSET, VT 05251


                      JOHN N. HANSEN CO.
                      369 ADRIAN ROAD
                      MILLBRAE, CA 94030


                      JONATHAN NEIL & ASSOCIATES
                      NEED


                      JOSEPHJOSEPH, INC.
                      41 MADISON AVENUE, 15TH FL
                      NEW YORK, NY 10010


                      K&M INTERNATIONAL, INC.
                      P.O. BOX 76065
                      CLEVELAND, OH 44101-4755


                      KASTEL INTERNATIONAL/BABY HOME
                      500 INTERNATIONAL DRIVE
                      SUITE 320
                      BUDD LAKE, NJ 07828


                      KAY DEE DESIGNS
                      P.O. BOX 845171
                      BOSTON, MA 02284-5171
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                      KIDCO, INC.
                      1013 TECHNOLOGY WAY
                      LIBERTYVILLE, IL 60048


                      KINGSTON BRASS, ING.
                      12775 RESERVOIR STREET
                      CHINO, CA 91710


                      KISS MY FACE, LLC
                      NEED


                      KITCHEN SUPPLY COMPANY, INC.
                      7540 W. ROOSEVELT ROAD
                      FOREST PARK, IL 60130-2030


                      KLUTZ
                      P.O. BOX 416851
                      BOSTON, MA 02241


                      LAFCO NY
                      23 EAST 4TH STREET
                      7TH FLOOR
                      NEW YORK, NY 10003


                      LAW OFFICES OF MARK C. FIELDS
                      333 S. HOPE STREET
                      35TH FLOOR
                      LOS ANGELES, CA 90071


                      LAY-N-GO, LLC
                      1702 HACKAMORE LANE
                      ALEXANDRIA, VA 22308


                      LC INDUSTRIES
                      P.O. BOX 66023
                      CHICAGO, IL 60666


                      LIFEFACTORY, INC.
                      THREE HARBOR DRIVE
                      SUITE 215
                      SAUSALITO, CA 94965-1491
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                      LIFELINE FIRST AID, LLC
                      26200 SW 95TH AVENUE
                      SUITE 302
                      WILSONVILLE, OR 97070


                      LIFETIME BRANDS, INC.
                      DEPT CH 17745
                      PALATINE, IL 60055


                      LINDEN SWEDEN, INC.
                      7609 WASHINGTON AVENUE S.
                      MINNEAPOLIS, MN 55439


                      LIPPER INTERNATIONAL, INC.
                      P.O. BOX 5017
                      WALLINGFORD, CT 06492


                      LITTLE KIDS
                      1015 NEWMAN AVENUE
                      SEEKONK, MA 02771


                      LODGE MANUFACTURING
                      P.O. BOX 380
                      SOUTH PITTSBURG, TN 37380


                      LOFTUS INTERNATIONAL
                      865 SOUTH 200 EAST
                      SALT LAKE CITY, UT 84111


                      LOOG GUITARS
                      NEED


                      LUCKIES OF LONDON LTD.
                      NEED


                      MAG-NIF, INC.
                      P.O. BOX 720
                      MENTOR, OH 44061-0720


                      MAGFORMERS, LLC
                      417 FOREST AVENUE
                      PLYMOUTH, MI 48170
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                      MAGISSO, LTD.
                      P.O. BOX 192
                      WEAVERVILLE, NC 28787


                      MAISON CHIC
                      230 SPRING STREET NW
                      SUITE 1212
                      ATLANTA, GA 30303


                      MAPLE LANDMARK, INC.
                      1297 EXCHANGE STREET
                      MIDDLEBURY, VT 05753


                      MARK MY TIME, LLC
                      P.O. BOX 687
                      HIGLEY, AZ 85236


                      MARLON CREATIONS, INC.
                      P.O. BOX 1530
                      LONG ISLAND CITY, NY 11101


                      MARY MEYER CORPORATION
                      1 TEDDY BEAR LANE
                      P.O. BOX 275
                      TOWNSHEND, VT 05353


                      MASTRAND, INC.
                      7461 BEVERLY BLVD.
                      SUITE 301
                      LOS ANGELES, CA 90036


                      MATTEL SALES CORPORATION
                      P.O. BOX 100125
                      ATLANTA, GA 30384


                      MAVERICK INDUSTRIES, INC.
                      THE CIT GROUP
                      P.O. BOX 1036
                      CHARLOTTE, NC 28201


                      MCCUBBIN HOSIERY, LLC
                      P.O. BOX 677062
                      DALLAS, TX 75267
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                      MELISSA & DOUG, LLC
                      P.O. BOX 590
                      WESTPORT, CT 06881


                      MELITTA USA, INC.
                      P.O. BOX 102986
                      ATLANTA, GA 30368-2986


                      MERRYMAKERS, INC.
                      3540 GRAND AVENUE
                      SUITE 200
                      OAKLAND, CA 94610


                      MEYER CORPORATION
                      THE CIT GROUP
                      P.O. BOX 1036
                      CHARLOTTE, NC 28201


                      MICHAEL MARIO MORIEL LL
                      3033 E. VALLEY BLVD.
                      SPC 156
                      WEST COVINA, CA 91792


                      MIT/FISHWICK BY CLASSIC WORLD
                      2040 EAST MURRAY HALLADAY RD.
                      SUITE 102
                      SALT LAKE CITY, UT 84117


                      MOLECULE-R-FLAVORS, INC.
                      NEED


                      MR. BAR-B-Q, INC.
                      10 HUB DRIVE, SUITE 101
                      MELVILLE, NY 11747


                      MSC INTERNATIONAL
                      6700 THIMENS STREET
                      LAURENT, QC H4S 1S5
                      CANADA


                      MULLNER LLC
                      5030 CHAMPION BLVD.
                      SUITE G11 #228
                      BOCA RATON, FL 33496
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                      NATIONAL PRESTO INDUSTRIES INC
                      3925 NORTH HASTINGS WAY
                      EAU CLAIRE, WI 54703-3703


                      NATURAL PATH SILVER WINGS
                      P.O. BOX 210469
                      NASHVILLE, TN 37221


                      NIBMOR, INC.
                      NEED


                      NIFTY HOME PRODUCTS, INC.
                      P.O. BOX 507
                      MADISON LAKE, MN 56063


                      NORDIC WARE
                      NW-8657
                      P.O. BOX 1450
                      MINNEAPOLIS, MN 55485


                      NORPRO
                      2215 MERRILL CREEK PARKWAY
                      EVERETT, WA 98203


                      NORTHERN TRUCKING & LOGISTICS
                      NEED


                      NOW DESIGNS
                      2150 PEACE PORTAL WAY
                      BLAINE, WA 98230


                      OENOPHILIA II, LLC
                      500 MEADOWLAND DRIVE
                      HILLSBOROUGH, NC 27278


                      OGGI CORPORATION
                      1809.5 N. ORANGETHORPE PARK
                      ANAHEIM, CA 92801


                      OKA B. BRANDS
                      P.O. BOX 1508
                      BUFORD, GA 30515
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                      OLD MOUNTAIN, LLC
                      3278 CO. ROAD 19
                      ARCHBOLD, OH 43502


                      OLIVINA NAPA VALLEY, LLC
                      3343 ASPEN GROVE DRIVE
                      SUITE 200
                      FRANKLIN, TN 37067


                      OMEGA JUICERS
                      3355 ENTERPRISE AVENUE
                      FORT LAUDERDALE, FL 33331


                      OMI INDUSTRIES, INC.
                      ONE CORPORATION DRIVE
                      SUITE 100
                      LONG GROVE, IL 60047


                      ONE HUNDRED 80 DEGREES
                      P.O. BOX 11387
                      SAINT PAUL, MN 55111


                      ORIGAMI (MAC AT HOME)
                      166 FAIRPLEX DRIVE
                      LA VERNE, CA 91750


                      ORIGINAL JUAN SPECIALTY FOODS
                      111 SOUTHWEST BLVD.
                      KANSAS CITY, KS 66103


                      PACIFIC MARKET INTERNATIONAL
                      NW 6186 P.O. BOX 1450
                      MINNEAPOLIS, MN 55485-6186


                      PACIFIC MERCHANTS TRADING
                      149S. BARRINGTON AVENUE
                      SUITE 507
                      LOS ANGELES, CA 90049


                      PADERNO WORLD CUISINE
                      355 MICHELE PLACE
                      CARLSTADT, NJ 07072
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                      PALADONE
                      2332 GALLANO STREET
                      2ND FLOOR
                      CORAL GABLES, FL 33134


                      PARADISUS
                      209 ALALA ROAD
                      KAILUA, HI 96734


                      PARICON, LLC
                      NEED


                      PATCH PRODUCTS, INC.
                      1400 E. INMAN PARKWAY
                      BELOIT, WI 53511


                      PAUL K. GUILLOW, INC.
                      P.O. BOX 229
                      WAKEFIELD, MA 01880-0329


                      PEGASUS SHIPPING, INC.
                      535 N. BRAND BLVD.
                      SUITE 400
                      GLENDALE, CA 91203


                      PERFECT CURVE,INC.
                      200 LINCOLN STREET
                      5TH FLOOR
                      BOSTON, MA 02110


                      PERFECT PETZZZ
                      88 UNLIMITED, LLC
                      15505 LONG VISTA CIRCLE # 220
                      AUSTIN, TX 78728


                      PETEDGE DEALER SERVICES
                      P.O. BOX 4151
                      WOBURN, MA 01888


                      PIATNIK OF AMERICA
                      6000 FAIRVIEW ROAD
                      SUITE 1200
                      CHARLOTTE, NC 28210
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                      PIGGY PAINT
                      13465 PUPPY CREEK ROAD
                      SUITE 1
                      SPRINGDALE, AR 72762


                      PLAN TOYS, INC.
                      465 FAIRCHILD DRIVE
                      SUITE 106A
                      MOUNTAIN VIEW, CA 94043


                      PREMIER KITES & DESIGNS
                      5200 LAWRENCE PLACE
                      HYATTSVILLE, MD 20781


                      PRESSMAN TOY CORPORATION
                      121 NEW ENGLAND AVENUE
                      PISCATAWAY, NJ 08854


                      PRODYNE
                      9611 SANTA ANITA AVENUE
                      RANCHO CUCAMONGA, CA 91730


                      PROGRESSIVE INTERNATIONAL
                      P.O. BOX 911615
                      DENVER, CO 80291-1615


                      PROTEAK RENEWABLE FORESTRY
                      C/O CONMAR INTERNATIONAL
                      1405 ROUTE 18, STE. 104
                      OLD BRIDGE, NJ 08857


                      PUZZLED, INC.
                      8944 FULLBRIGHT AVENUE
                      SUITE B
                      CHATSWORTH, CA 91311


                      R&G FORKLIFT REPAIR
                      NEED


                      R&M INTERNATIONAL CORP.
                      6250 KELLERS CHURCH ROAD
                      PIPERSVILLE, PA 18947
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                      RANGE KLEEN
                      P.O. DRAWER 696
                      LIMA, OH 45802


                      RAVENSBURGER USA, INC.
                      P.O. BOX 845233
                      BOSTON, MA 02284


                      RECENT TOYS USA, INC.
                      33 CYPRESS BLVD. 700
                      ROUND ROCK, TX 78665


                      RED CARPET STUDIOS, LTD.
                      DEPT. 781218
                      P.O. BOX 78000
                      DETROIT, MI 48278-1218


                      REDMON
                      P.O. BOX 7
                      PERU, IN 46970


                      REEVES INTERNATIONAL, INC.
                      14 INDUSTRIAL ROAD
                      PEQUANNOCK, NJ 07440


                      REGENCY WRAPS, INC.
                      2731 SATSUMA DRIVE
                      DALLAS, TX 75229


                      RENNSTEIG TOOS, INC.
                      301 ROUTE 17 NORTH
                      SUITE 800
                      NEWARK, NJ 07107


                      REPUBLIC SERVICE TRASH
                      12949 TELEGRAPH ROAD
                      SANTA FE SPRINGS, CA 90670


                      RICHARDS HOMEWARES, INC.
                      10675 N. LOMBARD STREET
                      PORTLAND, OR 97203


                      ROLAND PRODUCTS, INC.
                      3400 W. OLYMPIC BLVD.
                      LOS ANGELES, CA 90019
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                      ROYAL PET, INC.
                      6250 CLAUDE WAY EAST
                      INVER GROVE HEIGHTS, MN 55076


                      RSVP INTERNATIONAL, INC.
                      4435 COLORADO AVENUE S.
                      SEATTLE, WA 98134-2351


                      RUPERT, GIBBON & SPIDER, INC.
                      P.O. BOX 425
                      HEALDSBURG, CA 95448


                      SAMAR DISTRIBUTORS, INC.
                      140 CARTER DRIVE
                      EDISON, NJ 08817


                      SCANWOOD APS
                      CITIBANK
                      539 N. MICHIGAN AVENUE
                      CHICAGO, IL 60611


                      SCS INC.
                      516 S. ANDERSON STREET
                      LOS ANGELES, CA 90033


                      SEACOAST BUSINESS FUNDING
                      JOKARI/US, INC.
                      P.O. BOX 602862
                      CHARLOTTE, NC 28260-2862


                      SENTOSPHERE
                      P.O. BOX 600
                      GRANTSVILLE, MD 21536


                      SHOCK DOCTOR
                      NEED


                      SKOY ENTERPRISES
                      129 HUMMINGBIRD HILL
                      ENCINITAS, CA 92024


                      SKS USA CORPORATION
                      2412 E. MAIN STREET
                      OLNEY, IL 62450
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                      SLS FREIGHT
                      255 EAST RINCON STREET
                      SUITE 325
                      CORONA, CA 92879


                      SMALL WORLD TOYS
                      NEED


                      SOUTHERN CALIFORNIA EDISON
                      P.O. BOX 300
                      ROSEMEAD, CA 91772


                      SP IMAGES, INC.
                      P.O. BOX 30340
                      AMARILLO, TX 79120


                      SPECTRUM DIVERSIFIED DESIGNS
                      P.O. BOX 515625
                      LOS ANGELES, CA 90051-4531


                      SPICEBOX PRODUCT DEVEL.
                      12171 HORSESHOE WAY
                      RICHMOND, BC V7A 4VA
                      CANADA


                      SPLASH HOME
                      4930 COURVAL STREET
                      ST. LAURENT, QC H4T 1L1
                      CANADA


                      STEPHEN JOSEPH
                      4302 IRONTON AVENUE
                      LUBBOCK, TX 79407


                      STIGA AMERICA
                      795 CANNING PARKWAY
                      VICTOR, NY 14564


                      SUMMIT DISTRIBUTION
                      6290 NORTHERN BLVD.
                      EAST NORWICH, NY 11732


                      SWIFTWICK
                      P.O. BOX 2363
                      BRENTWOOD, TN 37024
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                      SWIMWAYS
                      5816 WARD COURT
                      VIRGINIA BEACH, VA 23455


                      SWIZZ STYLE, INC.
                      165 W. BROADWAY
                      DOVER, OH 44622


                      TANGLE CREATIONS
                      385 OYSTER POINT BLVD.
                      SUITE 8B
                      SOUTH SAN FRANCISCO, CA 94080


                      TARA TOYS
                      40 ADAMS AVENUE
                      HAUPPAUGE, NY 11788


                      TAYMOR
                      1586 ZEPHYR AVENUE
                      HAYWARD, CA 94545


                      TEDCO TOYS
                      498 SOUTH WASHINGTON STREET
                      HAGERSTOWN, IN 47346


                      THAMES & KOSMOS
                      301 FRIENDSHIP STREET
                      PROVIDENCE, RI 02903


                      THE BEISTLE COMPANY
                      P.O. BOX 842222
                      BOSTON, MA 02284


                      THE BOPPY COMPANY
                      P.O. BOX 910705
                      DENVER, CO 80291


                      THE COOKWARE COMPANY
                      GREENPAN, INC.


                      THE GAS COMPANY
                      P.O. BOX C
                      MONTEREY PARK, CA 91756
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                      THE MANHATTAN GROUP
                      NW 5631
                      P.O. BOX 1450
                      MINNEAPOLIS, MN 55485-5631


                      THE METAL WARE CORPORATION
                      P.O. BOX 1650
                      MILWAUKEE, WI 53201-1650


                      THE ORIGINAL TOY COMPANY
                      230 WOODMONT ROAD
                      MILFORD, CT 06460


                      THE PARTY ANIMAL, INC.
                      909 CROCKER ROAD
                      WESTLAKE, OH 44145


                      THE PUPPET COMPANY
                      P.O. BOX 600
                      GRANTSVILLE, MD 21536


                      THE WINE ENTHUSIAST, INC.
                      333 NORTH BEDFORD ROAD
                      MOUNT KISCO, NY 10549


                      THREE CHEERS FOR GIRLS
                      P.O. BOX 288
                      FLORIDA, NY 10921


                      TODDY
                      1225 RED CEDAR CIRCLE
                      UNIT C
                      FORT COLLINS, CO 80524


                      TOP TRUMPS USA, INC.
                      CITIBANK NA
                      640 5TH AVENUE
                      NEW YORK, NY 10019


                      TOYOPS, INC.
                      151 CHURCH STREET
                      MILLERSBURG, PA 17061
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                      TOYSMITH
                      3101 WEST VALLEY HIGHWAY
                      SUMNER, WA 98390


                      TRADE ASSOCIATES GROUP
                      900 W. BLISS
                      CHICAGO, IL 60642


                      TROPHY MUSIC CO.
                      9287 MIDWEST AVENUE
                      CLEVELAND, OH 44125


                      TRUE FABRICATIONS, INC.
                      154 NORTH 35TH STREET
                      SEATTLE, WA 98103


                      TUFFO, LLC
                      4-115 FIRST STREET, # 321
                      COLLINGWOOD, ON
                      L9Y 4W4


                      TWEEZERMAN INTERNATIONAL
                      P.O. BOX 27584
                      NEW YORK, NY 10087


                      ULTIMATE SOURCE
                      14171 FERN AVENUE
                      CHINO, CA 91710


                      ULTRA   VIOLET DISTRIBUTING
                      26735   W. COMMERCE DRIVE
                      SUITE   704
                      VOLO,   IL 60073


                      UNCLE MILTON INDUSTRIES, INC.
                      29209 CANWOOD STREET
                      SUITE 120
                      AGOURA HILLS, CA 91301


                      UNIPAK DESIGNS
                      224 RAILROAD AVENUE
                      MILPITAS, CA 95035
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                      UNIQUE INDUSTRIES
                      P.O. BOX 785317
                      PHILADELPHIA, PA 19178


                      UNSPECIFIED
                      NEED


                      UPPER CANADA SOAP
                      2299 KENMORE AVENUE
                      BUFFALO, NY 14207


                      URBAN TREND
                      1101 DOVE STREET
                      SUITE 175


                      US TOY COMPANY
                      13201 ARRINGTON ROAD
                      GRANDVIEW, MO 64030


                      USA PANS
                      P.O. BOX 932160
                      CLEVELAND, OH 44193


                      VALLEY VISTA SERVICES
                      17445 EAST RAILROAD STREET
                      CITY OF INDUSTRY, CA 91748-1026


                      VICTORINOX SWISS ARMY, INC.
                      P.O. BOX 845362
                      BOSTON, MA 02284-5362


                      VITELITY, LLC
                      NEED


                      WABA FUN TRINITY PLACE
                      1801 BROADWAY
                      SUITE 1320
                      DENVER, CO 80202


                      WARM & FUZZY
                      23 BRODERICK ROAD
                      BURLINGAME, CA 94010
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                      WARREN LONDON
                      27 LONDON TERRACE
                      NEW CITY, NY 10956


                      WEEMS & PLATH
                      214 EASTERN AVENUE
                      ANNAPOLIS, MD 21403


                      WEIMAN PRODUCTS, LLC
                      38617 EAGLE WAY
                      CHICAGO, IL 60678-1386


                      WESTON PRODUCTS, LLC
                      P.O. BOX 603089
                      CHARLOTTE, NC 28260-3089


                      WHITMOR, INC.
                      P.O. BOX 1019
                      SOUTHAVEN, MS 38671


                      WILLERT HOME PRODUCTS
                      P.O. BOX 790372
                      SAINT LOUIS, MO 63179-0372


                      WILLIAM BOUNDS LTD.
                      P.O. BOX 1547
                      3737 W. 24TH STREE
                      TORRANCE, CA 90505


                      WINCO
                      14950 VALLEY VIEW AVENUE
                      LA MIRADA, CA 90638


                      WOOLPETS
                      19566 AUGUST AVENUE
                      SUQUAMISH, WA 98392


                      WORLD KITCHEN, LLC
                      P.O. BOX 675030
                      DALLAS, TX 75267-5030


                      WREBBIT PUZZLES, INC.
                      8047 JARRY E.
                      MONTREAL, QC H1J 1H6
                      CANADA
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                      YORK WALLCOVERINGS, INC.
                      P.O. BOX 64333
                      BALTIMORE, MD 21264


                      ZADRO PRODUCTS, INC.
                      14462 ASTRONAUTICS LANE
                      HUNTINGTON BEACH, CA 92647


                      ZOOCCHINI
                      NEED


                      ZOOFY INTERNATIONAL, LLC
                      P.O. BOX 628361
                      ORLANDO, FL 32862-8361
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                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      Modern Everyday, Inc.                                                                            Case No.
                                                                                   Debtor(s)                 Chapter       7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Modern Everyday, Inc. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Live Ventures, Inc.
 325 E. Warm Springs Road, Suite 102
 Las Vegas, NV 89119




    None [Check if applicable]




 June 25, 2020                                                        /s/ Kenneth A. Reynolds
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